       Case 3:05-cr-00491-VRW      Document 107      Filed 08/31/05   Page 1 of 1



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 8                         UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )
                                          )
12                Plaintiff(s),           )       No. CR 05-0491 VRW
                                          )
13         v.                             )
                                          )       ORDER FOR IN CAMERA REVIEW
14   WHITNEY CRAMER OSTERHOUT,            )       OF TRUST INSTRUMENT
                                          )
15                Defendant(s).           )
                                          )
16
17         Defense counsel IS HEREBY ORDERED to lodge a copy of the
18   Osterhout Trust Instrument for the court’s in camera review by
19   September 8, 2005.
20   Dated:     August 31, 2005
21
22                                          Bernard Zimmerman
                                     United States Magistrate Judge
23
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25   G:\BZALL\CRIMINAL\ORDERS\ORDER.05\OSTERHOUTTRUST.ORD.wpd

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